          Case 1:17-cr-00630-ER Document 428 Filed 11/15/21 Page 1 of 1




                                                                   November 15, 2021


Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


       Re:     United States v. Mark S. Scott, S10 17 Cr. 630(ER)

Dear Judge Ramos:

        We write on behalf of our client, Mark Scott, with respect to the scheduling of the
defendant's Reply Brief in connection with his Supplemental Rule 33 Motion, which seeks a new
trial based on (now conceded) perjury by cooperating witness Konstantin Ignatov ("Konstantin").

        As noted in our letter of November 8th, the parties are in discussions about the issues
raised by Mr. Scott’s motion and the Government’s post-filing disclosures, including further
evidence produced by the Government last week that Irina Dilkinska was in India on the date of
a supposed meeting with Mr. Scott that Konstantin had testified to during trial. These
discussions will continue with the incoming Chief of the Criminal Division of the U.S.
Attorney’s Office for the S.D.N.Y., who is expected to start later this month.

        Accordingly, with the consent of the Government, we respectfully request that the time
for the filing of the Reply Brief be extended until December 10, 2021.

        We also request that sentencing, now scheduled for December 9th, be adjourned. Mr.
Scott respectfully proposes that the Court set a sentencing date, if necessary, following a ruling
on Mr. Scott’s fully submitted motions (including his original post-trial motions, Dkts. 218, 275).
The Government prefers that the Court calendar a date for sentencing in the first half of
February.

                                                                   Respectfully submitted,



                                                                   /s/ Arlo Devlin-Brown
                                                                   Arlo Devlin-Brown
